
592 F.3d 370 (2010)
In re CHRYSLER LLC, Debtor.
Indiana State Police Pension Trust, Indiana State Teachers Retirement Fund, and Indiana Major Moves Construction Fund, Objectors-Appellants,
The Ad HOC Committee of Consumer-Victims of Chrysler LLC, Objector-Appellant,
William Lovitz, Farbod Nourian, Brian Catalon, Center for Auto Safety, Consumer Action, Consumers for Auto Reliability and Safety, National Association of Consumer Advocates, and Public Citizen, Objectors-Appellants,
Patricia Pascale, Objector-Appellant,
Chrysler LLC, aka Chrysler Aspen, aka Chrysler Town &amp; Country, aka Chrysler 300, aka Chrysler Sebring, aka Chrysler PT Cruiser, aka Dodge, aka Dodge Avenger, aka Dodge Caliber, aka Dodge Challenger, aka Dodge Dakota, aka Dodge Durango, aka Dodge Grand Caravan, aka Dodge Journey, aka Dodge Nitro, aka Dodge Ram, aka Dodge Sprinter, aka Dodge Viper, aka Jeep, aka Jeep Commander, aka Jeep Compass, aka Jeep Grand Cherokee, aka Jeep Liberty, aka Jeep Patriot, aka Jeep Wrangler, aka Moper, aka Plymouth, aka Dodge Charger, Debtors-Appellees,
International Union, United Automobile, Aerospace, and Agricultural Implement Workers Union of America, AFL-CIO ("UAW"), Appellee,
Fiat S.P.A. and New Carco Acquisition LLC, Appellees,
Chrysler Financial Services Americas LLC, Appellee,
The Official Committee of Unsecured Creditors, Appellee,
United States of America, Appellee, *371 
Export Development Canada, Appellee.
Docket No. 09-2311-bk.
United States Court of Appeals, Second Circuit.
Argued: June 5, 2009.
Decided: January 25, 2010.
Glenn M. Kurtz, Thomas E. Lauria (Owen C. Pell, Karen M. Asner, on the brief), White &amp; Case LLP, New York, NY, for Objectors-Appellants Indiana State Police Pension Trust, et al.
Nancy Winkelman (M. Christine Carty, Barry E. Bressler, Richard A. Barkasy, on the brief), Schnader Harrison Segal &amp; Lewis LLP, New York, NY, and Philadelphia, PA, for Objector-Appellant The Ad Hoc Committee of Consumer-Victims of Chrysler LLC.
Adina H. Rosenbaum (Allison M. Zieve, on the brief), Public Citizen Litigation Group, Washington, D.C., and Elizabeth J. Cabraser (Robert J. Nelson, Scott P. Nealey, on the brief), Lieff, Cabraser, Heimann &amp; Bernstein, LLP, San Francisco, CA, and Harley E. Riedel (Edward J. Peterson, on the brief), Stichter, Riedel, Blain &amp; Prosser, P.A., Tampa, FL, for Objectors-Appellants William Lovitz, et al.
Sander L. Esserman (Robert T. Brousseau, Jo E. Hartwick, Cliff I. Taylor, on the brief), Stutzman, Bromberg, Esserman &amp; Plifka, PC, Dallas, TX, and Alan R. Brayton (Christina Skubic, on the brief), Brayton Purcell LLP, Novato, CA, for Objector-Appellant Patricia Pascale.
Thomas F. Cullen (Corinne Ball, Steven C. Bennett, Todd R. Geremia, Veerle Roovers, on the brief), Jones Day, New York, NY, and Washington, D.C., for Debtors-Appellees Chrysler LLC et al.
Deborah M. Buell (James L. Bromley, Luke A. Barefoot, Kimberly C. Spiering, James Croft, on the brief), Cleary Gottlieb Steen &amp; Hamilton LLP, New York, NY for Appellee International Union, United Automobile Aerospace, and Agricultural Implement Workers Union of America, AFL-CIO.
Steven L. Holley (John L. Warden, Laurent S. Wiesel, on the brief), Sullivan &amp; Cromwell LLP, New York, NY, for Appellees Fiat S.p.A. and New CarCo Acquisition LLC.
Martin J. Bienenstock (Judy G.Z. Liu, on the brief), Dewey &amp; LeBoeuf LLP, New York, NY, for Appellee Chrysler Financial Services Americas LLC.
Kenneth H. Eckstein (Jeffrey S. Trachtman, Thomas Moers Mayer, on the brief), Kramer Levin Naftalis &amp; Frankel LLP, New York, NY, for Appellee The Official Committee of Unsecured Creditors.
Jeannette A. Vargas, Assistant United States Attorney (Tara LaMorte, Li Yu, David S. Jones, on the brief) for Lev L. Dassin, Acting United States Attorney for the Southern District of New York, New York, NY, and John Rapisardi, Of Counsel to the Presidential Task Force on the Auto Industry, Cadwalader, Wickersham &amp; Taft LLP, New York, NY, for Appellee United States of America.
Michael J. Edelman, Vedder Price P.C., New York, NY, for Appellee Export Development Canada.
Joan Pilver, Assistant Attorney General (Matthew F. Fitzsimmons, on the brief), for Richard Blumenthal, Attorney General of the State of Connecticut, Hartford, CT, for Amicus Curiae State of Connecticut.
Roger Netzer (Lisa D. Bentley, Emma-Ann Deacon, on the brief), Willkie Farr &amp; Gallagher LLP, New York, NY, and Robert G. Zack, Chief Legal Officer, Oppenheimer Senior Floating Rate Fund and Oppenheimer Master Loan Fund, LLC, New York, NY, for Amici Curiae Oppenheimer *372 Senior Floating Rate Fund and Oppenheimer Master Loan Fund, LLC.
Before JACOBS, Chief Judge, KEARSE, and SACK, Circuit Judges.
PER CURIAM:
The Supreme Court of the United States vacated the judgment of this court, recorded at In re Chrysler LLC, 576 F.3d 108 (2d Cir.2009), and remanded "with instructions to dismiss the appeal as moot." Ind. State Police Pension Trust, et al., v. Chrysler LLC, et al., ___ U.S. ___, ___, 130 S.Ct. 1015, 1015, ___ L.Ed.2d ___, 2009 WL 2844364, at *1 (2009). Accordingly, the judgment of this court is vacated and this appeal is dismissed as moot.
